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 7
 8
 9                               UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
11                                       OAKLAND DIVISION
12
     IN RE: CATHODE RAY TUBE (CRT)               MASTER FILE NO. 4:07-cv-5944-JST
13   ANTITRUST LITIGATION                        Case No.: 4:13-cv-03234-JST
14                                               MDL NO. 1917
     This Document Relates to:
15
     INDIRECT PURCHASER ACTIONS FOR              DECLARATION OF JOSEPH M. FISHER
16   THE 22 STATES                               RE: ADMINISTRATIVE FEES
17                                               Hearing Date:
                                                 Time:
18                                               Courtroom:
                                                 Judge:
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             DECLARATION OF JOSEPH M. FISHER RE: NOTICE, CLAIMS PROCESSING AND DISTRIBUTION OF
                              SETTLEMENT FUNDS – Master File No. 4:07-cv-5944-JST
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 1            I, Joseph M. Fisher, declare:

 2                                             INTRODUCTION
 3            1.     Identification. I am the president of The Notice Company, Inc., a Massachusetts

 4   corporation with offices at 94 Station Street, Hingham, MA 02043 (“The Notice Company” or
 5   “Settlement Administrator”). The Notice Company is principally engaged in the administration of
 6   class action settlements and lawsuits pending in courts around the United States, including the
 7   dissemination of notice to class members, administering the claims process, and distributing the
 8   proceeds of the litigation to the class. I have over 20 years of experience assisting attorneys with class
 9   action notices and claims administration. I am also a member in good standing of the bars of the
10   Commonwealth of Massachusetts, the District of Columbia, and the Commonwealth of Virginia. I
11   am over 21 years of age and not a party to this action. I have personal knowledge of the facts set forth
12   herein and, if called as a witness, could and would testify thereto under oath.
13            2.     Purpose. I submit this declaration to support disbursement of funds to The Notice
14   Company for its settlement-administration fees from the funds set aside for such purposes by the Court
15   in its Order Granting Motion for Order Authorizing Distribution of Settlement Funds, filed July 29,
16   2022, ECF No. 6040 (“Distribution Order”).
17            3.     Establishment of Administration Fund. The Distribution Order required that $600,000
18   be withheld from the settlement funds to cover costs associated with The Notice Company’s remaining
19   tasks:
20            The Notice Company’s estimate that its remaining work from June 1, 2022 to the completion
21            of final distribution will cost approximately $600,000 is reasonable, and the Court orders that
              $600,000 be withheld on a pro rata basis from the Chunghwa Net Settlement Fund and the Net
22            Settlement Funds for the other settlements.

23   Distribution Order at ¶ 13. The Notice Company withheld $600,000 from the settlement funds and

24   placed this amount in a segregated, interest-bearing account ( the “Administration Fund”). To date

25   there have been no disbursements from the Administration Fund. The total amount available in the

26   Administration Fund as of January 31, 2024, including interest, was $621,178.43.

27            4.     Work Performed Since June 1, 2022. Following the Distribution Order, The Notice

28   Company has continued its administrative responsibilities, including the following tasks:
                                                         1
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 1              (a) The Settlement Administrator issued check payments to 143,099 class members

 2     who filed valid claims, representing an aggregate payment amount of $410,129,476.32. All
 3     payments were issued as paper checks, with 54,220 payments sent to claimants care of third-

 4     party filers.
 5              (b) The Settlement Administrator issued total incentive payments of $450,000,
 6     comprised of payments of $15,000 for each of 25 Court-appointed class representatives and
 7     $5,000 for an additional 15 named plaintiffs not appointed by the court but who acted as state
 8     representatives for a period of time before being replaced, in accordance with the Court’s Order
 9     Authorizing Distribution of Incentive Awards to Class Representatives and Reimbursement of
10     Expenses to Class Counsel, filed August 9, 2022, ECF No. 6046.
11              (c) The Settlement Administrator established and monitored a positive-pay system with
12     the issuing bank to assure that every check presented for payment is verified prior to the release
13     of funds. Positive pay prevents payment of duplicate checks and helps to protect against fraud.
14              (d) Prior to issuing checks, the Settlement Administrator validated and updated
15     addresses through the Address Change Service (ACS) and National Change of Address
16     Linkage (NCOALink) service of the U.S. Postal Service for all check recipients, resulting in
17     updated addresses for 10,794 claimants.
18              (e) The Settlement Administrator responded to requests from approved claimants to
19     reissue check payments.
20              (f) The Settlement Administrator followed up on 11,458 checks returned as
21     undeliverable by using third-party address searches.
22              (g) The Settlement Administrator completed a recency update through an additional
23     third-party vendor, identifying updated addresses for over 18,406 claimants after disbursement
24     began.
25              (h) The Settlement Administrator reissued over 22,500 settlement checks.
26              (i) The Settlement Administrator disbursed funds, when and as directed by Class
27     Counsel, from the $10,000,000 reserve account established and maintained pursuant to the
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                                                   2
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 1          Distribution Order at ¶ 14. The total amount available in the reserve account as of January 31,

 2          2024, net of disbursements and including interest, was $9,461,749.11. Interest continues to
 3          accrue.

 4                     (j) The Settlement Administrator maintained and continues to maintain active email
 5          accounts and toll-free phone lines dedicated to receiving and responding to inquiries from
 6          members of the Settlement Class and their representatives.
 7          5.         Unpaid Invoices. The Notice Company has submitted to Class Counsel invoices for
 8   the above-described work performed during the period from June 1, 2022, to July 31, 2023, totaling
 9   $509,822.06. These invoices have not yet been paid pending Court approval.
10          6.         Remaining Work. The Notice Company’s remaining responsibilities as the Settlement
11   Administrator include the following:
12                     (a) The Settlement Administrator is working on distributing the residual remaining in
13          the Net Settlement Fund in accordance with the Distribution Order at ¶ 8(e).
14                     (b) The Settlement Administrator will be returning the unused portion of the reserve
15          fund to those claimants from which it was withheld in accordance with the Distribution Order
16          at ¶ 14.
17                     (c) The Settlement Administrator will prepare a final accounting of the Settlement
18          Funds.
19          7.         Funds Remaining. Payment of The Notice Company’s currently outstanding invoices
20   from the Administration Fund would leave a net balance of $111,356.37. Amounts remaining in the
21   Administration Fund are sufficient to pay for the estimated remaining administration work as
22   described above.
23          I declare under penalty of perjury that the foregoing is true and correct to the best of my
24   knowledge.
25          Executed at Hingham, Massachusetts, this 22nd day of February 2024.
26
27                                                           ___________________________
                                                                   JOSEPH M. FISHER
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             DECLARATION OF JOSEPH M. FISHER RE: NOTICE, CLAIMS PROCESSING AND DISTRIBUTION OF
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